                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
                                                  )
       VS.                                        )   CASE NO. 1:15-CR-00623-1
                                                  )
                                                  )
MICHAEL HALDORSON,                                )
Also known as, Mike Jones.                        )


          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                  MICHAEL HALDORSON’S MOTION FOR
              COURT-APPOINTED ATTORNEY REPRESENTATION

                                             MOTION

Now comes the defendant, Michael Haldorson, by Elizabeth A. Johnson, attorney at law, pursuant

to U.S. Const. Amend. §V, §VI and §XIV; 18 U.S.C. §3006A et. seq.; 28 U.S.C. §1915 et. seq.,

Fed. R. Crim. P. 5, Fed. R. Crim. P. 44, L.R. 3.3(a)(2), L.R. 83.36, et. seq., and hereby requests

that this Honorable Court issue an order granting this Motion and appointing Mr. Haldorson paid

attorney representation1 in this instant cause.

                            RELEVANT PROCEDURAL BACKGROUND

Michael Haldorson was arrested on June 23, 2015 in Will County, Illinois. Mr. Haldorson was

initially charged with offenses stemming from the same set of facts as in state court. On October

13, 2015 was charged with a federal criminal complaint and arrested thereon on October 14, 2015.



1
18 U.S.C.A. §3006A(b), (e); Fed. R. Crim. P. 44.
                                                      1
On December 9, 2015, a federal grand jury returned a Bill of Indictment and Mr. Haldorson was

thereafter arraigned on said Indictment on December 22, 2015 before the Honorable Judge

Matthew Kennelly. On November 24, 2015, Mr. Haldorson requested the assistance of counsel

and after a screening process, whereby Mr. Haldorson completed an affidavit and provided all

necessary/requested documentation, the Court found him to be indigent and entered an order

appointing counsel to represent him at no cost pursuant to the Criminal Justice Act. Mr. Haldorson

requests that this Court take judicial notice of the proceedings that occurred on November 24, 2015

and December 9, 2015, in which he was determined to be indigent. From the time when indigency

was established to the current day, Mr. Haldorson has been unemployed due to the pretrial

conditions that mandate he remain at his residence. Mr. Haldorson believes that it is a fair

statement that he is unable to improve his financial position at the present time given the current

restraint upon his mobility.2 It is also fair to say that Mr. Haldorson’s situation has grown worse

without having a source of income for this time period. After arraignment on the charges contained

in the indictment, a pretrial briefing schedule was set by the Court, along with a pretrial status date

and a jury trial date. The briefing schedule has been modified at the defendant’s request a few

times and the trial date has been stricken at the present time, pending completion of filing

numerous pretrial motions. On May 6, 2016, his CJA appointed counsel, Quinn Michaelis, filed

a Motion to Withdraw.3 On May 19, 2016, the Court granted her Motion. The withdrawal of




2
 See Exhibit “A” Michael Haldorson’s Affidavit in Support of this Motion attached hereto.
3
 U.S. v. Haldorson, 1:15-cr-623, Docket No. 111, Motion to withdraw as attorney as to Michael P
Haldorson Quinn Michaelis (Michaelis, Quinn) (Entered: 05/06/2016).
                                                   2
Attorney Michaelis was reasonable under the circumstances. 4 After the withdraw of lead-attorney

Michaelis, Attorney Johnson remained on the case as Mr. Haldorson’s primary counsel. While a

fully-licensed, competent attorney, Ms. Johnson obtained her federal license bar and trial licenses

for this case in order to gain in-court federal litigation experience. This case has a heavy work

load and is difficult for a single attorney to manage effectively, even if this case is their primary

focus. We should note that the government added an attorney to their team when the motion

practice began and the writing of the filings appear to be split among the two of them. Based upon

Attorney Johnson’s very limited federal court experience, particularly in heavy, contested

litigation matters, receiving experienced court-appointed paid attorney representation in additional

to Attorney Johnson remaining as a pro bono attorney.

                                         POINTS AND AUTHORITIES

         Mr. Haldorson requests that this Court grant this Motion and issue an order appointing him

attorney representation5 in this cause. This request is made in good faith and solely for preparation

of Michael Haldorson’s necessary and reasonable defense and to allow him an opportunity for a

fair trial, as explained in detail below.

    I.       Right to Counsel and the Constitution.

More than three decades ago the Supreme Court of the United States in Powell v. Alabama6



4
  See Affidavit of Michael Haldorson in Support of this Motion attached hereto as Exhibit “B”.
5
 18 U.S.C.A. §3006A(b), (e); Fed. R. Crim. P. 44.
6
 Powell v. Ala., 287 U.S. 45 (1932) (This case involved the application of the fourteenth amendment in a
state prosecution for a capital offense. In its holding the court pointed out that "all that it is necessary to
decide, as we do decide, is that in a capital case, where the defendant is unable to employ counsel, and is
incapable adequately of making his own defense because of ignorance, feeble mindedness, illiteracy, or
                                                       3
recognized in unequivocal terms the necessity of counsel in criminal proceedings:

                 “The right to be heard would be, in many cases, of little avail if it

                 did not comprehend the right to be heard by counsel. Even the

                 intelligent and educated layman has small and sometimes no skill in

                 the science of law. If charged with crime, he is incapable, generally,

                 of determining for himself whether the indictment is good or bad.

                 He is unfamiliar with the rules of evidence. Left without the aid of

                 counsel he may be put on trial without a proper charge, and

                 convicted upon incompetent evidence, or evidence irrelevant to the

                 issue or otherwise inadmissible. He lacks both the skill and

                 knowledge adequately to prepare his defense, even though he has a

                 perfect one. He requires the guiding hand of counsel at every step

                 in the proceedings against him. Without it, though he be not guilty,

                 he faces the danger of conviction because he does not know how to

                 establish his innocence. If that be true of men of intelligence, how

                 much more true is it of the ignorant and illiterate, or those of feeble

                 intellect.”7

        It was the 1938 case of Johnson v. Zerbst 8 that extended the protection of the sixth




the like, it is the duty of the court, whether requested or not, to assign counsel for him as a necessary
requisite of due process of law." Id. at 71.)
7
  Id. at 69.
8
  Johnson v. Zerbst, 304 U.S. 458 (1938).
                                                       4
amendment to all federal criminal defendants by requiring assignment of counsel for indigents at

the time of trial.9 “It is fundamental that a federal criminal defendant has an absolute right under

the sixth amendment to be represented by retained counsel of his own choice at the time he

appears in court.”10

            a. Mr. Haldorson’s Right to Counsel is both afforded and protected by the Sixth

                 Amendment of the U.S. Constitution.

        The Sixth Amendment11 guarantees to every defendant in a criminal trial the effective12

assistance of counsel 13 and is satisfied when counsel is reasonably effective. 14                 The Sixth

Amendment embodies a realistic recognition of the obvious truth that the average defendant does

not have the professional legal skill to protect himself when brought before a tribunal with power

to take his life or liberty, wherein the prosecution is presented by experienced and learned

counsel.15 In Federal courts, the Sixth Amendment which provides, inter alia, that “in all criminal

prosecutions, the accused shall enjoy the right…to have assistance of counsel for his defense,” has

been construed as granting to an accused unable to procure the services of an attorney the right to




9
  Id. at 465.
10
   Id. at 52-53.
11
   U.S. Const. Amend. §VI. (The Sixth Amendment states that “In all criminal prosecutions, the accused
shall enjoy the right to a speedy and public trial, by an impartial jury of the State and district wherein the
crime shall have been committed, which district shall have been previously ascertained by law, and to be
informed of the nature and cause of the accusation; to be confronted with the witnesses against him; to
have compulsory process for obtaining witnesses in his favor, and to have the Assistance of Counsel for
his defense.”)
12
   (Emphasis added.)
13
   U.S. Const. Amend. §VI.
14
   Powell, 287 U.S. at 71-72.
15
   Johnson, 304 U.S. at 463-464.
                                                       5
have the court appoint competent and qualified counsel to assist him.16

           In the case presently before the Court, defendant’s complaints regarding his quality of

representation to right to the heart of the Sixth Amendment. The nature of the complaints here is

about lack of communication and failure to perform basic duties and are not directed at Attorney

Michaelis personally.17

           The Court found the issue presented distinguishable from cases in which the accused

claimed ineffective assistance of counsel, because “[c]ounsel cannot be ‘ineffective’ unless his

mistakes have harmed the defense.” 18

     II.      In addition to the Constitutional rights and protections afforded, there are also

              statutory and rule-based rights of a defendant to court-appointed counsel.

In addition to the constitutional requirements, Federal Rule of Criminal Procedure 44, 19 the

Criminal Justice Act (C.J.A.) 18 U.S.C. § 3006A, and Local Rule 83.36, also govern the issue

presented in this Motion.

           Federal Rule of Criminal Procedure 44– Right to & Appointment of Counsel. Pursuant

to Rule 44, “A defendant who is unable to obtain counsel is entitled to have counsel appointed to

represent the defendant at every stage of the preceding from initial appearance through appeal,




16
   Emphasis added; Powell at 65-66.
17
   See U.S. Const. Amend. §6; see also U.S. v. Golden, 102 F.3d 936 (7th Cir. 1996) (refusal to allow
defendant a midtrial substitution of counsel was not an abuse of discretion, given that request for
substitution on second day of trial was untimely, court adequately investigated problems between
defendant and counsel, most of defendant complaints were about attorney bed side manner and were of a
personal nature, and defendant was not dissatisfied with counsel performance at trial.)
18
   U.S. v. Gonzalez-Lopez, 126 S. Ct. 2557, 2563 (U.S. 2006).
19
   The Right to and Appointment of Counsel.
                                                  6
unless the defendant waives his right.” 20

        Criminal Justice Act (C.J.A.), 18 U.S.C. § 3006A. Pursuant to the Criminal Justice Act

(C.J.A.),21 “each United States district court…shall place in operation throughout the district a

plan for furnishing representation for any person financially unable to obtain adequate

representation in accordance with this section. Representation under each plan shall include

counsel and investigative, expert, and other services necessary for adequate representation.” 22

Subsection (c) of the C.J.A. provides for the duration and substitution of appointments of counsel

and states that “a person for whom counsel is appointed shall be represented at every stage of the

proceedings from his initial appearance before the United States magistrate judge or the court

through appeal.”23

        Local Rule 83.36. Pursuant to Local Rule 83.36,24 by reason of changed circumstances,

a party may apply for appointment of counsel within a reasonable time after the change in

circumstances has occurred. Subsection (b) states that an individual must follow the procedure

set forth in subsection (a) of the Rule 25 when re-applying for court-appointed counsel.

Subsection (a) sets forth the application procedures for requesting court-appointed attorney




20
   Fed. R. Crim. P. 44.
21
   18 U.S.C. § 3006A (a).
22
   U.S. Const. Amend. §VI; 18 U.S.C. §3006A(a).
23
   18 U.S.C. § 3006A (c) (This subsection also grants the Court to power to terminate and reappointment
or substitute court-appoint counsel (no matter what type of funding arrangement is established to
represent an indigent or otherwise qualified defendant).
24
   L.R. 83.36 (b), Appointment Procedures.
25
   L.R. 83.36 (b), Appointment Procedures.
                                                   7
representation.26

        Local Rule 83.36 sets forth three requirements for submitting an application for court-

appointed attorney representation; specifically: (1) “the application which shall include [(2)] a

form of affidavit27 stating the party’s efforts, if any, to obtain counsel by means other than

appointment and indicating any prior pro bono appointments of counsel to represent that party in

cases brought in this Court during the pendency of this case.” 28 There have not been any other

cases or appoints previously before this Court; nor are there any others currently pending. (3) A

completed copy of the affidavit of financial status in the form required by L.R.3.3(a)(2).29 The

defendant, Mr. Haldorson, respectfully requests that this Honorable Court take judicial notice of

the CJA Order30 filed on November 24, 2015 and Mr. Haldorson’s previously completed financial

affidavit.31

        The standard most commonly applied was set forth in Edwards v. United States:32 "Mere

improvident strategy, bad tactics, mistaken carelessness or inexperience do not necessarily amount

to ineffective assistance of counsel. 33 To establish ineffective assistance of counsel, the defendant


26
   L.R. 83.36 (a), Re-application.
27
   The application is attached hereto as Exhibit “C”.
28
   L.R. 83.36 (a). Appointment Procedures.
29
   L.R. 3.3(a)(2) “Financial Affidavit” means the form of the affidavit of financial status prescribed by the
Court.
30
   U.S. v. Haldorson, 1:15-cr-623, Docket No. 29, CJA Order Appointing Quinn Michaelis Under the
Criminal Justice Act. Signed by the Honorable Sheila M. Finnegan on 11/24/2015. Mailed notice. (ym)
(Entered: 11/25/2015).
31
   U.S. v. Haldorson, 1:15-cr-623, document no. 32, financial affidavit filed by Michael P Haldorson
(SEALED). (ym) (Entered: 12/09/2015) and document no. 33, affidavit of Raymond Lee Haldorson. (ym)
(Entered: 12/09/2015), both documents were filed on 12/08/2015.
32
   Edwards v. U.S., 256 F. 2d 707 (1958).
33
   Id. at 15.
                                                      8
must show both that counsel's performance was deficient and that there was prejudice. 34 Deficient

performance requires a showing that counsel's actions were, in light of all the circumstances,

outside the wide range of professionally competent assistance.35 There is a presumption that

counsel's conduct was within the range of reasonable professional assistance and was "sound trial

strategy." To show prejudice, the defendant must show "a reasonable probability that, but for

counsel's unprofessional errors, the result of the proceeding would have been different." Prejudice

is presumed in certain contexts, such as where there is a denial of counsel or counsel has a conflict

of interest.36 The Supreme Court has stated that to satisfy Strickland, a defendant is required to

show that: (1) counsel’s representation fell below an objective standard of reasonableness, and (2)

there was a reasonable probability the result of the proceeding would have been different had

counsel acted competently.37 A reasonable probability is a probability sufficient to undermine

confidence in the outcome. It is not enough to show that the errors had some conceivable effect on

the outcome of the proceedings; counsel’s errors must be so serious as to deprive the defendant of

a fair trial. To show that trial counsel’s performance was deficient, defendant must overcome the

strong presumption that the questioned action or inaction was the result of sound trial strategy. A

reviewing court is highly deferential to trial counsel on matters of strategy and must view counsel's

performance at the time it occurred rather than in hindsight. 38 The failure to meet either prong of

Strickland precludes a finding of ineffective assistance of counsel.           In this case, appointed


34
   Strickland v. Wash., 466 U.S. 668 (1984).
35
   Id. at 689.
36
   People v. Albanese, 104 Ill.2d 504 (1984); People v. Barrow, 133 Ill.2d 226 (1989).
37
   Harrington v. Richter, 131 S.Ct. 770 (2011).
38
   Strickland, 466 U.S. at 689.
                                                    9
counsel’s representation was ineffective.          Communication between defendant and Attorney

Johnson and Attorney Michaelis totally broke down39 on May 6, 2016. The breakdown threatens

to preclude adequate defense, which supports substitution of counsel; defendant and his court-

appointed, lead counsel Quinn Michaelis, were barely communicating, not40 simply disagreeing

over trial strategy.41 Any and all communication between the parties, Attorney Michaelis, Mr.

Haldorson, and Attorney Johnson was not substantially productive and did not aid advancement

of the defense’s pretrial preparation of this case. 42 Mr. Haldorson asserts that the defense of his

case was actually hindered by representation as it existed and desperately needed a change. Ms.

Michaelis was consistently unprepared, failed to allow defendant and his other counsel to review

discovery in a timely fashion and was caught lying to Mr. Haldorson and Attorney Johnson and

gave bad advice or no advice at all.

        This issue with appointed counsel was brought to the Court as soon as reasonably possible

under the circumstances and well in advance of a future trial. 43 Mr. Haldorson and Attorney

Johnson attempted to solve any problems privately or at a minimum, make them workable, so as



39
    See Wilson v. Mintzes, 761 F.2d 275 (6th Cir. 1985).
40
    Emphasis added.
41
    See U.S. Const. Amend. §6; U.S. v. Volpentesta, 727 F.3d 666 (7th Cir. 2013) Hall v. Wash., 106 F.3d
742 (7th Cir. 1997) (courts are to grant substitution motions only when counsel and defendant are so at
odds as to prevent presentation of adequate defense); see e.g. U.S. v. Andrews, 754 F. Supp. 1195 (N.D.
Ill. 1990).
42
    Id.
43
    This case was removed from the trial call on May 12, 2016, to allow the parties more time for pretrial
motion filing and briefing. See, e.g., U.S. v. Gaya, 647 F. 3d 634 (7th Cir. 2011) (trial court did not abuse
its discretion in denying defendant's request for continuance to find new counsel in prosecution for
cocaine offenses; defendant did not request continuance until morning on which trial began, which was
several days after jury had been picked, and he was afforded ample opportunity during previous court
appearances to express his dissatisfaction with counsel).
                                                     10
not to have to bring to this issue before the court and to keep all matters moving forward as

efficiently as possible; however, that did was not the ultimate result.

        Failure to communicate: Please refer to the Affidavit of Michael Haldorson for details

showing a consistent and continued lack of communication.

        Failure to tender discovery (or even advise of its existence and/or defense possession) :44

The preceding three weeks leading up to the filing of the motion to withdraw, Attorney had

possession of three discovery discs that the AUSA indicated he would be mailing to both of us.

Instead, as the time before, Attorney Michaelis retrieved the discs in person from the AUSA’s

office and failed to promptly tender them to co-counsel and/or Mr. Haldorson. This wasn’t the

first time that there were issues receiving discovery in a timely manner. Please refer to the

Affidavit of Michael Haldorson for further details.

        Failure to investigate: Appointed counsel has also failed to interview witnesses, review

documents, or obtain expert assistance on technical matters. It appeared as if she had no pretrial

strategy at all.

        Failure to present a specific legal argument: Appointed counsel did not present specific

legal arguments, instead relied upon the work of the other counsel. There was not merely a

difference of opinion as to trial strategy.

        There is no fixed rule which prescribes the amount of time that must be allowed between



44
  Meaning that Attorney Michaelis picked it up and had possession of it without telling sometimes both
counsel and defendant, sometimes just defendant, and sometimes even misrepresenting what discovery
she had when asked about by Mr. Haldorson. He would inquire of the discovery when Attorney Johnson
would advise him that Attorney Michaelis stated she had possession of certain discovery.
                                                  11
the appointment of counsel and trial. In determining whether counsel has been allowed adequate

time to prepare for trial the court will look to all the facts and circumstances to determine the effect

on the subsequent proceedings. “Even when counsel is assigned at such a late date that proper

preparation for trial is impossible with poor performance the result, there is almost no possibility

that the defendant can raise a successful charge of inadequate representation. While the right to

the assistance of counsel is fundamental and substantive, not merely formal, the defendant is not

entitled to the most brilliant counsel, but only one whose services are not so inferior as to deny the

accused his constitutional right to counsel under the sixth amendment.”

        Typical advantages of court-appointed counsel include: Most public defenders are

committed to the cause of justice and want to help you get the best result possible. They have the

resources of a publicly-funded office (including investigators), which private attorneys may not

have. In large cities, public defenders are often leaders in the defense community, with significant

experience and ability. Public defenders are often in the courthouse on a regular basis handling

criminal cases, are likely to be familiar with the judge assigned to your case and the prosecutor

handling it. In this case, the federal defender had familiarity with the courthouse and rules and

procedures as well. That experience translates into solid and reliable advice. Few private attorneys

can match the number of hours spent in criminal court by these lawyers, and their knowledge of

the criminal justice system and the players in the courthouse generally works in your favor.

        A defendant has a right to expect that his attorney will use every skill, expend every energy,

and tap every legitimate resource in exercise of independent professional judgment on behalf of




                                                  12
defendant and in undertaking representation. 45 Since Mr. Haldorson’s appointed counsel was

wholly deficient for the reasons stated above and contained in his affidavit, he submits his request

for newly appointed counsel.

     III.      Mr. Haldorson has always expressed his need to be represented and has never

               waived his right to an attorney.

            The purpose of the constitutional guaranty of a right to counsel is to protect an accused

from conviction resulting from his own ignorance of his legal and constitutional rights, and the

guaranty would be nullified by a determination that an accused's ignorant failure to claim his rights

removes the protection of the Constitution. 46 These principles, however, must be construed and

applied so as to preserve - not destroy - constitutional safeguards of human life and liberty. 47 When

this right is properly waived, the assistance of counsel is no longer a necessary element of the

court's jurisdiction to proceed to conviction and sentence. 48 If the accused, however, is not

represented by counsel and has not competently and intelligently waived his constitutional right,

the Sixth Amendment stands as a jurisdictional bar to a valid conviction and sentence depriving

him of his life or his liberty.49 A court's jurisdiction at the hearing of trial may be lost in the course

of the proceedings due to failure to complete the court-as the Sixth Amendment requires-by

providing counsel for an accused who is unable to obtain counsel, who has not intelligently waived




45
   Frazer v. U.S., 18 F.3d 778, 779 (9th Cir. 1994); U.S. Const. Amend §VI.
46
   Johnson, 304 U.S. at 467.
47
   Johnson, 304 U.S. at 467.
48
   Johnson, 304 U.S. at 468.
49
   Johnson, 304 U.S. at 468.
                                                   13
this constitutional guaranty, and whose life or liberty is at stake. 50 If this requirement of the Sixth

Amendment is not complied with, the court no longer has jurisdiction to proceed. The judgment

of conviction pronounced by a court without jurisdiction is void, and one imprisoned thereunder

may obtain release by habeas corpus. 51 A judge of the United States to whom a petition for habeas

corpus is addressed should be alert to examine “the facts for himself when if true as alleged they

make the trial absolutely void.”52

        Mr. Haldorson has never waived his right to an attorney. Failure of a party to make a

written application for appointed counsel shall not preclude appointment. 53 Mr. Haldorson orally

requested substitute counsel on the date of Attorney Michaelis’s withdrawal. He was not

admonished regarding his right to counsel at the time of her withdrawal; however, the point is

moot, because Mr. Haldorson satisfied the requirements to get passed any such waiver by orally

requesting that substitute counsel be appointed and attempting to make his case for the

appointment. However, the Court did not want to entertain that oral motion on that day and made

mention that it may have to review affidavits at another time.

                                           CONCLUSION

        The Court should grant this Motion and appoint Mr. Haldorson attorney representation in

this case. Mr. Haldorson has demonstrated that he can satisfy all legal standards in order to

properly qualify for appointed counsel. Therefore, Mr. Haldorson requests that this Honorable


50
   Johnson, 304 U.S. at 468, citing, Mangum at 327, supra.
51
   Johnson, 304 U.S. at 468, citing, ex-parte Hans Neilsen, Petitioner, supra.
52
   Johnson, 304 U.S. at 468, citing, Moore v. Dempsey, 261 U.S. 86, 92 (1923); Patton, 281 U.S. at 312,
313.
53
   LR 83.36(a), Application.
                                                   14
Court issue an order granting this Motion and appointing Mr. Haldorson paid attorney

representation54 in this instant cause.



        Dated: June 7, 2016.


                        Respectfully Submitted:

                        /s/Elizabeth A. Johnson          /s/Michael Haldorson
                        __________________________       _________________________
                        Elizabeth A. Johnson             Michael Haldorson, Defendant
                        Attorney No. 6303621
                        Attorney at Law
                        P.O. Box 725, Morris, IL 60450
                        Phone: 773-209-0047
                        Email: lizlaw00@yahoo.com




54
 18 U.S.C.A. §3006A(b), (e); Fed. R. Crim. P. 44.
                                                    15
